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UNITED sTATEs or AMERICA, CLEHK ums CT
W.D oF m MEMPHIS
Piaintiff,
vs. No. Od-cr-20458»01

DARRYL RUDD,

Defendant.

 

ORDER

 

This matter came before the Court upon the written motion of
Darryl Rudd. For good cause shown, his motion is granted and this
case is reset for sentencing on Lzmd&p{ , A@£b£ j??, 2005

at /}@H g,m.

IT IS SO ORDERED.

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JON HIPPS MCCALLA
Uni ed States District Court Judge

DATE: %l@,[(zzoo§

     

 

 
 

UNITED sTATE DRISTIC COURT - WETERN D's'TRCT oFTENNESSEE

 

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US DISTRICT COURT

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